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Fill in this information to identify your case:


United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                        Chapter       11
                                                                                                                                Check if this an
                                                                                                                                amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Avenue Stores, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          Ornatus URG Acquisition, LLC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                       Mailing address, if different from principal place of
                                                                                                    business

                                  365 West Passaic Street, Suite 230
                                  Rochelle Park, NJ 07662
                                  Number, Street, City, State & ZIP Code                            P.O. Box, Number, Street, City, State & ZIP Code

                                  Bergen                                                            Location of principal assets, if different from principal
                                  County                                                            place of business

                                                                                                    Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.avenue.com/
                                  https://www.loralette.com/


6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                          Partnership (excluding LLP)
                                          Other. Specify:




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Debtor    Avenue Stores, LLC                                                                            Case number (if known)
          Name


7.   Describe debtor's business         A. Check one:
                                             Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                             Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                             Railroad (as defined in 11 U.S.C. § 101(44))
                                             Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                             Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                             Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                             None of the above

                                        B. Check all that apply
                                            Tax-exempt entity (as described in 26 U.S.C. §501)
                                             Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                             Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4481

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
                                             Chapter 7
     debtor filing?
                                             Chapter 9
                                             Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                             Chapter 12



9.   Were prior bankruptcy                  No     See Attachment 1 for additional information
     cases filed by or against
     the debtor within the last 8           Yes
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment 2                                                Relationship
                                                  District                                 When                              Case number, if known




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Debtor   Avenue Stores, LLC                                                                      Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                      preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                               It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                               It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                               Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                               No


                                           Yes.        Insurance agency
                                                       Contact name
                                                       Phone



         Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds
                                            Funds will be available for distribution to unsecured creditors.
                                            After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                            1,000-5,000                                25,001-50,000
    creditors
                                    50-99                                           5001-10,000                                50,001-100,000
                                    100-199                                         10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                    $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                             $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                More than $50 billion




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                               ATTACHMENT 1 TO VOLUNTARY PETITION

                 On February 1, 2012, United Retail Group, Inc., Avenue Gift Cards, Inc., United Distribution
         Services, Inc., United Retail Holding Corporation, Untied Retail Incorporated, and United Retail
         Logistics Operations Incorporated commenced voluntary cases (Case Nos. 12-10405 (SMB), 12-10406
         (SMB), 12-10407 (SMB), 12-10408 (SMB), 12-10409 (SMB), and 12-10410 (SMB), respectively) under
         chapter 11 of the Bankruptcy Code, 11 U.S.C. §§ 101–1532, in the United States Bankruptcy Court for
         the Southern District of New York. The cases were procedurally consolidated and jointly administered
         under Case No. 12-10405 (SMB). The Debtors’ assets were acquired in a sale in these previous
         bankruptcy cases.




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                               ATTACHMENT 2 TO VOLUNTARY PETITION

                               Pending Bankruptcy Cases Filed by Affiliated Entities

                  On the date hereof, each of the related entities listed below, including the debtor in this
         chapter 11 case (collectively, the “Debtors”), will file or have filed a petition with the Court for
         relief under title 11 of the United States Code, 11 U.S.C. §§ 101–1532. Contemporaneously with
         the filing of their voluntary petitions, the Debtors are filing a motion requesting that the Court
         consolidate their chapter 11 cases for administrative purposes only.

         The Debtors are the following entities (along with their federal tax identification numbers):

         1. Avenue Stores, LLC (XX-XXXXXXX)

         2. Ornatus URG Holdings, LLC (XX-XXXXXXX)

         3. Ornatus URG Real Estate, LLC (XX-XXXXXXX)

         4. Ornatus URG Gift Cards, LLC (XX-XXXXXXX)




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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE


         In re:                                                       Chapter 11

         AVENUE STORES, LLC, et al.,1                                 Case No. 19-________ (____)

                                   Debtors.                           (Joint Administration Requested)


                         CONSOLIDATED CORPORATE OWNERSHIP STATEMENT
                          AND LIST OF EQUITY INTEREST HOLDERS PURSUANT
                           TO FED. R. BANKR. P. 1007(a)(1), 1007(a)(3), AND 7007.1

                            Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of

         Bankruptcy Procedure, Avenue Stores, LLC and its affiliated debtors and debtors in possession

         (collectively, the “Debtors”) in the above-captioned chapter 11 cases hereby state as follows:

                            1.     Debtor Ornatus URG Holdings, LLC is owned by the following non-

         debtor entities:

                                 Entity                                           Ownership Percentage2

         Ornatus URG Management, LLC                               Class A Units: 1.0%
                                                                   Class B Units: 100.0%
         Ornatus URG Investments II, LLC                           Class A Units: 69.7%
                                                                   Class A-1 Units: 70.6%
         Ornatus URG Investments II-A, LLC                         Class A Units: 29.0%
                                                                   Class A-1 Units: 29.4%
         Dorrit Bern                                               Class A Units: 0.3%




         1
                   The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
         identification number, are as follows: Avenue Stores, LLC (0838); Ornatus URG Holdings, LLC (1146); Ornatus
         URG Real Estate, LLC (9565); and Ornatus URG Gift Cards, LLC (9203). The Debtors’ headquarters are located at
         365 West Passaic Street, Suite 230, Rochelle Park, New Jersey 07662.
         2
                  Ownership percentages have been rounded to the nearest tenth.
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                       2.   Debtor Ornatus URG Holdings, LLC owns 100% of the equity interests in

         each of Debtors Ornatus URG Real Estate, LLC, Avenue Stores, LLC, and Ornatus URG Gift

         Cards, LLC.




01:24774673.2
                                                    2
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Fill in this information to identify the case:
  Debtor name: Avenue Stores, LLC, et al.                                                                                               □ Check if this is an amended ﬁling
  United States Bankruptcy Court for the: District of Delaware
  Case number (if known): ________________



Official Form 204



Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are
Not Insiders                                                                                                                                                                                12/15

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any
person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral
value places the creditor among the holders of the 30 largest unsecured claims.


Name of creditor and complete mailing         Name, telephone number, and email address of        Nature of the         Indicate if     Amount of unsecured claim
address, including zip code                   creditor contact                                    claim(for example,    claim is        If the claim is fully unsecured, fill in only unsecured
                                                                                                  trade debts, bank     contingent,     claim amount. If claim is partially secured, fill in total
                                                                                                  loans, professional   unliquidated,   claim amount and deduction for value of collateral
                                                                                                  services, and         or disputed     or setoff to calculate unsecured claim.
                                                                                                  government
                                                                                                  contracts)



                                                                                                                                                             Deduction for
                                                                                                                                         Total claim, if        value of
                                                                                                                                                                            Unsecured Claim
                                                                                                                                        partially secured     collateral or
                                                                                                                                                                 setoff
      FB FLURRY LLC                           FB FLURRY LLC
      JEFF ZISK, CEO                          JEFF ZISK, CEO
1                                                                                                 TRADE                 N/A                                                            $1,554,084.63
      10300 SANDEN DRIVE                      PHONE: 214‐632‐4498
      DALLAS, TX 75238                        EMAIL: jzisk@fbflurry.com
      LAND 'N SEA INC                         LAND 'N SEA INC
      ROBERT SOBEL, CEO                       ROBERT SOBEL, CEO
2                                                                                                 TRADE                 N/A                                                             $783,997.48
      1440 BROADWAY 3RD FLR                   PHONE: (212)444‐6000
      NEW YORK, NY 10018                      EMAIL: gprusakowski@landnseaco.com

      VALENTINE USA INC.
                                              VALENTINE USA INC.
      SIMONE DOMINICI, CEO
                                              SIMONE DOMINICI, CEO
3     THE CIT GROUP/COMMERCIAL SERVICE INC                                                        TRADE                 N/A                                                             $678,333.05
                                              PHONE: 212‐840‐8866
      ASSIGNED TO MERCHANT FACTORS CORP
                                              FAX: 212‐840‐8845
      CHARLOTTE, NC 28201‐1036

      ALL‐IN INVESTMENT AND DEVELOPMENT       ALL‐IN INVESTMENT AND DEVELOPMENT (GROUP) CO
      (GROUP) CO LTD                          LTD
4     PRESIDENT OR GENERAL COUNSEL            PRESIDENT OR GENERAL COUNSEL                        TRADE                 N/A                                                             $654,821.71
      499 7TH AVENUE                          PHONE: 323‐201‐6468
      NEW YORK, NY 10018                      FAX: 323‐722‐7175
      REVISE CLOTHING INC                     REVISE CLOTHING INC
      PRESIDENT OR GENERAL COUNSEL            PRESIDENT OR GENERAL COUNSEL
5                                                                                                 TRADE                 N/A                                                             $597,287.33
      215 W40TH STREET, SUITE 2               PHONE: 201‐727‐9339
      NEW YORK, NY 10018                      FAX: 201‐727‐9704
      BLUPRINT CLOTHING CORP.                 BLUPRINT CLOTHING CORP.
      JU HYUN KIM, CEO                        JU HYUN KIM, CEO
6                                                                                                 TRADE                 N/A                                                             $441,360.60
      5600 BANDINI BLVD                       PHONE: 323‐780‐4347
      BELL GARDENS, CA 90201                  FAX: 323‐780‐9332
      GREENA AKA AVA JAMES
                                              GREENA AKA AVA JAMES
      PRESIDENT OR GENERAL COUNSEL
7                                             PRESIDENT OR GENERAL COUNSEL                        TRADE                 N/A                                                             $338,273.85
      1439 S HERBERT AVE
                                              EMAIL: info@avajamesnyc.com
      COMMERCE , CA 90023
                                              WOODLAND TRADING INC
      WOODLAND TRADING INC
                                              SUDHIR KAKAR, PRESIDENT
      SUDHIR KAKAR, PRESIDENT
8                                             PHONE: 212‐819‐0123                                 TRADE                 N/A                                                             $331,595.14
      1407 BROADWAY, RM 905
                                              FAX: 212‐819‐0080
      NEW YORK, NY 10018
                                              EMAIL: woodlandtrading@yahoo.com
      ONEWORLD APPAREL LLC                    ONEWORLD APPAREL LLC
      ARTHUR GORDON, CEO                      ARTHUR GORDON, CEO
9                                                                                                 TRADE                 N/A                                                             $266,007.64
      13071 TEMPLE AVE                        PHONE: (213) 891‐0177
      LA PUENTE, CA 91746                     EMAIL: sbundy@oneworldapparel.com
Debtor Avenue Stores, LLC, et al.
                                     Case 19-11842-LSS                           Doc 1       Filed 08/16/19                   Page 10 of 41                  Case number (if known) __________

   Name of creditor and complete mailing         Name, telephone number, and email address of     Nature of the         Indicate if     Amount of unsecured claim
   address, including zip code                   creditor contact                                 claim(for example,    claim is        If the claim is fully unsecured, fill in only unsecured
                                                                                                  trade debts, bank     contingent,     claim amount. If claim is partially secured, fill in total
                                                                                                  loans, professional   unliquidated,   claim amount and deduction for value of collateral
                                                                                                  services, and         or disputed     or setoff to calculate unsecured claim.
                                                                                                  government
                                                                                                  contracts)



                                                                                                                                                             Deduction for
                                                                                                                                         Total claim, if        value of
                                                                                                                                                                            Unsecured Claim
                                                                                                                                        partially secured     collateral or
                                                                                                                                                                 setoff
                                                 C.P. INTERNATIONAL, CORP.
         C.P. INTERNATIONAL, CORP.
                                                 PRESIDENT OR GENERAL COUNSEL
         PRESIDENT OR GENERAL COUNSEL
   10                                            PHONE: 201‐816‐8111                             TRADE                  N/A                                                             $251,965.95
         165 NORTH DEAN STREET
                                                 FAX: 201‐816‐0226
         ENGLEWOOD, NJ 07631
                                                 EMAIL: cpi.shoes@prodigy.net
         NOTATIONS INC                           NOTATIONS INC
         KURT ERMAN, PRESIDENT                   KURT ERMAN, PRESIDENT
   11                                                                                            TRADE                  N/A                                                             $239,213.75
         539 JACKSONVILLE RD                     PHONE: 212‐921‐5495
         WARMINSTER, PA 18974                    EMAIL: Scotte@notations.com
         HMS PRODUCTIONS, INC                    HMS PRODUCTIONS, INC
         PRESIDENT OR GENERAL COUNSEL            PRESIDENT OR GENERAL COUNSEL
   12                                                                                            TRADE                  N/A                                                             $234,837.73
         250 W 39TH STREET, 12TH FLOOR           PHONE: 212.719.9190
         NEW YORK, NY 10018                      EMAIL: info@hmsproductions.nyc
         BYER CALIFORNIA                         BYER CALIFORNIA
         PRESIDENT OR GENERAL COUNSEL            PRESIDENT OR GENERAL COUNSEL
   13                                                                                            TRADE                  N/A                                                             $232,443.13
         62685 COLLECTION CENTER DR              PHONE: (415) 626‐7844 ext. 6324
         CHICAGO, IL 60693‐0626                  EMAIL: lsanchez@byer.com
         EXPRESSIONS LINGERIE DIVISION OF
                                                 EXPRESSIONS LINGERIE DIVISION OF MUSTANG ASSETS
         MUSTANG ASSETS
                                                 PRESIDENT OR GENERAL COUNSEL
   14    PRESIDENT OR GENERAL COUNSEL                                                            TRADE                  N/A                                                             $231,064.42
                                                 PHONE: 914‐227‐9357
         333 FIFTH AVENUE
                                                 EMAIL: Steven@bankmilker.com
         PELHAM, NY 10803
         REPUBLIC CLOTHING CORP                  REPUBLIC CLOTHING CORP
         STEVEN SALL, CHAIRMAN                   STEVEN SALL, CHAIRMAN
   15                                                                                            TRADE                  N/A                                                             $228,982.88
         1411 BROADWAY, SUITE 12                 PHONE: (212) 719‐ 3000
         NEW YORK, NY 10018                      FAX: (212) 302‐ 4376
         GOOGLE                                  GOOGLE
         SUNDAR PICHAI, CEO                      SUNDAR PICHAI, CEO
   16                                                                                            TRADE                  N/A                                                             $227,571.43
         1600 AMPITHEATRE PARKWAY                PHONE: 650‐253‐0000
         MOUNTAINVIEW, CA 94043                  EMAIL: collections@google.com

         RICHA GLOBAL EXPORTS PVT LTD            RICHA GLOBAL EXPORTS PVT LTD
         PRESIDENT OR GENERAL COUNSEL            PRESIDENT OR GENERAL COUNSEL
   17    A‐41, MAYAPURI INDUSTRIAL AREA          PHONE: +91‐124‐4314000                          TRADE                  N/A                                                             $218,168.87
         NEW DELHI                               FAX: +91‐124‐4290303
         INDIA                                   EMAIL: INFO@RICHAGLOBAL.COM

         CORRA TECHNOLOGY INC
                                                 CORRA TECHNOLOGY INC
         PRESIDENT OR GENERAL COUNSEL
   18                                            PRESIDENT OR GENERAL COUNSEL                    TRADE                  N/A                                                             $215,600.99
         363 BLOOMFIELD AVE
                                                 EMAIL: AR@CORRA.COM
         MONTCLAIR , NJ 07042
                                                 CHINEX APPAREL, INC
         CHINEX APPAREL, INC
                                                 PRESIDENT OR GENERAL COUNSEL
         PRESIDENT OR GENERAL COUNSEL
   19                                            PHONE: 212‐510‐8576                             TRADE                  N/A                                                             $214,613.21
         209 WEST 40TH STREET 7TH FL SUITE 708
                                                 FAX: 212‐658‐9629
         NEW YORK, NY 10018
                                                 EMAIL: wu@chinexusa.com

                                                 FRED DAVID INTERNATIONAL USA INC
         FRED DAVID INTERNATIONAL USA INC
                                                 PRESIDENT OR GENERAL COUNSEL
         PRESIDENT OR GENERAL COUNSEL
   20                                            PHONE: 714‐521‐0121                         TRADE                      N/A                                                             $198,258.14
         1407 BROADWAY SUITE 710
                                                 FAX: 714‐521‐0122
         NEW YORK, NY 10018
                                                 EMAIL: INFO@FREDDAVID.COM; HR@FREDDAVID.COM

         JIANGSU GUOTAI INT'L GROUP
                                                 JIANGSU GUOTAI INT'L GROUP
         PRESIDENT OR GENERAL COUNSEL
   21                                            PRESIDENT OR GENERAL COUNSEL                    TRADE                  N/A                                                             $193,928.55
         GUOTAI USA CO LTD 1501 RIO VISTA AVE
                                                 PHONE: 323‐881‐3279 EXT.253
         LOS ANGELES, CA 90023

         HOMESTREET BANK
                                                 HOMESTREET BANK
         MARK K MASON, CEO
   22                                            MARK K MASON, CEO                               TRADE                  N/A                                                             $190,000.00
         601 UNION ST, SUITE 2000
                                                 FAX: 206‐621‐2538
         SEATTLE, WA 98101
                                                 ZINNTEX LLC
         ZINNTEX LLC
                                                 RICKY ZINN, CEO
         RICKY ZINN, CEO
   23                                            PHONE: (212) 584‐9229                           TRADE                  N/A                                                             $183,323.90
         53 ORCHARD CT
                                                 FAX: (212) 656‐1891
         WOODBURY, NY 11797
                                                 EMAIL: billing@zinntex.com




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Debtor Avenue Stores, LLC, et al.
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   Name of creditor and complete mailing     Name, telephone number, and email address of     Nature of the         Indicate if     Amount of unsecured claim
   address, including zip code               creditor contact                                 claim(for example,    claim is        If the claim is fully unsecured, fill in only unsecured
                                                                                              trade debts, bank     contingent,     claim amount. If claim is partially secured, fill in total
                                                                                              loans, professional   unliquidated,   claim amount and deduction for value of collateral
                                                                                              services, and         or disputed     or setoff to calculate unsecured claim.
                                                                                              government
                                                                                              contracts)



                                                                                                                                                         Deduction for
                                                                                                                                     Total claim, if        value of
                                                                                                                                                                        Unsecured Claim
                                                                                                                                    partially secured     collateral or
                                                                                                                                                             setoff
         HORIZON
                                             HORIZON
         KAREN MCGRATH, CEO
   24                                        KAREN MCGRATH, CEO                              TRADE                  N/A                                                             $180,000.00
         949 RAYMOND BLVD
                                             FAX: 605.772.4514
         NEWARK, NJ 07105
                                             INTERNATIONAL DIRECT GROUP,INC
         INTERNATIONAL DIRECT GROUP,INC      PRESIDENT OR GENERAL COUNSEL
         PRESIDENT OR GENERAL COUNSEL        PHONE: 212‐921‐9036
   25                                                                                        TRADE                  N/A                                                             $175,026.67
         525 7TH AVENUE, SUITE 208           FAX: 212‐921‐9038
         NEW YORK, NY 10018                  EMAIL: Joel@InternationalDG.com;
                                             info@internationaldg.com

         VOLUMECOCOMO APPAREL INC            VOLUMECOCOMO APPAREL INC
         PRESIDENT OR GENERAL COUNSEL        PRESIDENT OR GENERAL COUNSEL
   26                                                                                        TRADE                  N/A                                                             $161,875.35
         HANA FINANCIAL INC DEPT. LA 24406   PHONE: 323‐881‐1830
         PASADENA, CA 91185‐4406             FAX: 323‐881‐1840

                                             VESTURE GROUP INC
         VESTURE GROUP INC
                                             ATTN: ROBERT GALISHOFF
         ATTN: ROBERT GALISHOFF
   27                                        PHONE: (818)842‐0200                            TRADE                  N/A                                                             $147,028.72
         2220 N SCREENLAND DR
                                             FAX: (818)842‐0400
         BURBANK, CA 91505
                                             EMAIL: info2@vesturegroupinc.com
         JUMP DESIGN GROUP                   JUMP DESIGN GROUP
         ASHESH AMIN, CEO                    ASHESH AMIN, CEO
   28                                                                                        TRADE                  N/A                                                             $141,301.54
         1400 BROADWAY, FL 2                 PHONE: (201)558‐9191
         NEW YORK, NY 10018                  EMAIL: GlennS@jumpdesigngroup.com
         HOT LINE INDUSTRIES INC             HOT LINE INDUSTRIES INC
         HOWARD NEGRIN, PRESIDENT            HOWARD NEGRIN, PRESIDENT
   29                                                                                        TRADE                  N/A                                                             $138,330.61
         2648 GRAND AVE                      PHONE: 516‐764‐0400
         BELLMORE, NY 11710                  FAX: 516‐764‐6009
         TANYA CREATIONS INC.                TANYA CREATIONS INC.
         PRESIDENT OR GENERAL COUNSEL        PRESIDENT OR GENERAL COUNSEL
   30                                                                                        TRADE                  N/A                                                             $136,982.23
         360 NARRAGANSETT PARK DRIVE         PHONE: 401‐438‐8050
         EAST PROVIDENCE, RI 2916            FAX: 401‐438‐4890




Official Form 204                            Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unecured Claims                                                      Page 3
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Fill in this information to identify the case:

Debtor name         Avenue Stores, LLC

United States Bankruptcy Court for the:     DISTRICT OF DELAWARE

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                      12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                Schedule H: Codebtors (Official Form 206H)
                Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                Amended Schedule
                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                Other document that requires a declaration    Corporate Ownership Statement and List of Equity Interest Holders

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       08/16/2019                      X /s/ David Rhoads
                                                           Signature of individual signing on behalf of debtor

                                                            David Rhoads
                                                            Printed name

                                                            Chief Financial Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors



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                                                    WRITTEN CONSENT
                                                           OF THE
                                                BOARD OF MANAGERS OF
                                                  AVENUE STORES, LLC
                                             a Delaware limited liability company

                         THE UNDERSIGNED, being a majority of the managers of the Board of
                Managers (the “Board”) of Avenue Stores, LLC, a Delaware limited liability company
                (the “Company”), hereby consent to and adopt the following resolutions pursuant to the
                Second Amended and Restated Limited Liability Company Agreement of the Company,
                dated September 19, 2014, as amended (the “LLC Agreement”), as of the date set forth
                below:

                                 WHEREAS, the Company is the manager of Ornatus URG Real
                         Estate, LLC, a Delaware limited liability company (“Real Estate”), and
                         Ornatus URG Gift Cards, LLC, a Virginia limited liability company (“Gift
                         Cards” and together with the Company and Real Estate, collectively, the
                         “Debtors”);

                                WHEREAS, the Board has reviewed and considered the financial
                         and operational condition of the Debtors, and the Debtors’ business on the
                         date hereof, including the historical performance of the Debtors, the assets
                         of the Debtors, the current and long-term liabilities of the Debtors, the
                         market for the Debtors’ assets, and credit market conditions; and

                                 WHEREAS, the Board has received, reviewed and considered the
                         recommendations of the senior management of the Debtors and the
                         Debtors’ legal, financial and other advisors as to the relative risks and
                         benefits of pursuing a bankruptcy proceeding under the provisions of
                         chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”).

                                NOW, THEREFORE, BE IT:

                         Appointment of CRO

                               RESOLVED, that Robert J. Duffy of Berkeley Research Group,
                         LLC (“BRG”) is hereby appointed as Chief Restructuring Officer of the
                         Company; and it is further

                         Commencement and Prosecution of Bankruptcy Case

                                 RESOLVED, that, in the judgment of the Board, it is desirable and
                         in the best interests of the Company, its creditors, member and other
                         interested parties, that a voluntary petition (the “Petition”) be filed with the
                         United States Bankruptcy Court for the District of Delaware (the
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                “Bankruptcy Court”) by the Company commencing a case (the
                “Bankruptcy Case”) under the provisions of the Bankruptcy Code; and it is
                further

                        RESOLVED, that each officer of the Company (each, an “Officer”
                and collectively, the “Officers”) be, and each of them, acting alone or in
                any combination, hereby is, authorized, directed and empowered, on behalf
                of the Company, to execute, acknowledge, deliver, and verify the Petition
                and to cause the same to be filed with the Bankruptcy Court at such time as
                such Officer may determine; and it is further

                       RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered on
                behalf of the Company, to execute, acknowledge, deliver and verify and file
                any and all petitions, schedules, statements of affairs, lists and other papers
                and to take any and all related actions that such Officers may deem
                necessary or proper in connection with the filing of the Petition and
                commencement of the Bankruptcy Case; and it is further

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered from
                time to time in the name and on behalf of the Company, to perform the
                obligations of the Company under the Bankruptcy Code, with all such
                actions to be performed in such manner, and all such certificates,
                instruments, guaranties, notices and documents to be executed and
                delivered in such form, as the Officer performing or executing the same
                shall approve, and the performance or execution thereof by such Officer
                shall be conclusive evidence of the approval thereof by such Officer and by
                the Company; and it is further

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered from
                time to time in the name and on behalf of the Company, to cause the
                Company to enter into, execute, deliver, certify, file, record and perform
                such agreements, instruments, motions, affidavits, applications for
                approvals or rulings of governmental or regulatory authorities, certificates
                or other documents, to pay all expenses, including filing fees, and to take
                such other actions, as in the judgment of such Officers, shall be necessary,
                proper and desirable to prosecute to a successful completion the
                Bankruptcy Case and to effectuate the restructuring or liquidation of the
                Company’s debt, other obligations, organizational form and structure and
                ownership of the Company, all consistent with the foregoing resolutions
                and to carry out and put into effect the purposes of these resolutions, and
                the transactions contemplated by these resolutions, their authority thereunto
                to be evidenced by the taking of such actions; and it is further




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                Retention of Professionals

                        RESOLVED, that the law firm of Young Conaway Stargatt &
                Taylor, LLP (“Young Conaway”) be, and hereby is, authorized, directed
                and empowered to represent the Company as bankruptcy counsel to
                represent and assist the Company in carrying out its duties under the
                Bankruptcy Code, and to take any and all actions to advance the
                Company’s rights, including the preparation of pleadings and filings in its
                Bankruptcy Case; and in connection therewith, the Officers be, and each of
                them, acting alone or in any combination, hereby is, authorized, directed
                and empowered, on behalf of and in the name of the Company to execute
                appropriate retention agreements, pay appropriate retainers prior to and
                immediately upon the filing of the Bankruptcy Case, and to cause to be
                filed an appropriate application for authority to retain the services of Young
                Conaway; and it is further

                        RESOLVED, that BRG be, and hereby is, authorized, directed and
                empowered to serve as a financial advisor to represent and assist the
                Company in carrying out its duties under the Bankruptcy Code and to take
                any and all actions to advance the Company’s rights and obligations in
                connection with the Bankruptcy Case; and in connection therewith, the
                Officers be, and each of them, acting alone or in any combination, hereby
                is, authorized, directed, and empowered, on behalf of and in the name of the
                Company, to execute appropriate retention agreements, pay appropriate
                retainers, if required, prior to and immediately upon the filing of the
                Bankruptcy Case, and to cause to be filed an appropriate motion or
                application for authority to retain the services of BRG; and it is further

                         RESOLVED, that Configure Partners, LLC (“Configure”) be, and
                hereby is, authorized, directed and empowered to serve as investment
                banker to represent and assist the Company in connection with the sale of
                the Company’s “E-Commerce Business” and in carrying out its duties
                under the Bankruptcy Code and to take any and all actions to advance the
                Company’s rights and obligations in connection with the Bankruptcy Case;
                and in connection therewith, the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed, and empowered, on
                behalf of and in the name of the Company, to execute appropriate retention
                agreements, pay appropriate retainers, if required, prior to and immediately
                upon the filing of the Bankruptcy Case, and to cause to be filed an
                appropriate application for authority to retain the services of Configure; and
                it is further

                       RESOLVED, that Prime Clerk LLC (“Prime Clerk”) be, and
                hereby is, authorized, directed and empowered to serve as the notice,
                claims, solicitation and balloting agent in connection with the Bankruptcy
                Case; and in connection therewith, the Officers be, and each of them, acting
                alone or in any combination, hereby is, authorized, directed and
                empowered, on behalf of and in the name of the Company to execute
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                appropriate retention agreements, pay appropriate retainers, if required,
                prior to and immediately upon the filing of the Bankruptcy Case, and to
                cause to be filed an appropriate application for authority to retain the
                services of Prime Clerk; and it is further

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company to employ any other individual
                and/or firm as professionals, consultants, financial advisors, or investment
                bankers to the Company as are deemed necessary to represent and assist the
                Company in carrying out its duties under the Bankruptcy Code, and in
                connection therewith, the Officers be, and each of them, acting alone or in
                any combination, hereby is, authorized, directed and empowered, on behalf
                of and in the name of the Company to execute appropriate retention
                agreements, pay appropriate retainers prior to and immediately upon the
                filing of the Bankruptcy Case, and to cause to be filed an appropriate
                application for authority to retain the services of such firms; and it is further

                Postpetition Financing

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company to obtain post-petition financing
                according to terms negotiated, or to be negotiated, by the management of
                the Company, including under debtor-in-possession credit facilities or
                relating to the use of cash collateral, if any; and to enter into any guarantees
                and to pledge and grant liens on its assets as may be contemplated by or
                required under the terms of such post-petition financing or cash collateral
                agreements; and in connection therewith, the Officers be, and each of them,
                acting alone or in any combination, hereby is authorized and directed to
                execute appropriate loan agreements, cash collateral agreements and related
                ancillary documents; and it is further

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company, to secure the payment and
                performance of any post-petition financing by (i) (a) pledging or granting
                liens or mortgages on, or security interests in, all or any portion of the
                Company’s assets, including all or any portion of the issued and
                outstanding membership interests of any subsidiaries of the Company,
                whether now owned or hereafter acquired, and (b) causing any subsidiary
                of the Company, if any, to pledge or grant liens or mortgages on, or security
                interests in, all or any portion of such subsidiary’s assets, whether now
                owned or hereafter acquired, and (ii) entering into or causing to be entered
                into, including, without limitation, causing any subsidiaries of the Company
                to enter into, such credit agreements, guarantees, other debt instruments,
                security agreements, pledge agreements, control agreements, inter-creditor
                agreements, mortgages, deeds of trust, and other agreements as are
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                necessary, appropriate or desirable to effectuate the intent of, or matters
                reasonably contemplated or implied by, this resolution in such form,
                covering such collateral and having such other terms and conditions as are
                approved or deemed necessary, appropriate, or desirable by the Officer
                executing the same, the execution thereof by such Officer to be conclusive
                evidence of such approval or determination; and it is further

                Sale

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company, to retain a joint venture
                composed of Hilco Merchant Resources, LLC and Gordon Brothers Retail
                Partners, LLC (collectively, the “Consultant”) to conduct “going out of
                business sales” solely at the Company’s retail stores (the “GOB Sale”), if
                any, in connection with the commencement of the Bankruptcy Case and to
                provide consulting services relating thereto; and, in connection therewith,
                that the Officers be, and each of them, acting alone or in any combination,
                hereby is, authorized, directed and empowered, on behalf of and in the
                name of the Company, to execute a consulting agreement with the
                Consultant and related ancillary documents to effectuate the
                aforementioned sale; and it is further

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company, to (i) enter into negotiation with
                any interested parties regarding a purchase of any or all of the assets of the
                Company not subject to the GOB Sale (of any kind) (a “Non-GOB Sale”),
                (ii) execute and deliver an agreement providing for such Non-GOB Sale
                (the “Sale Agreement”), (iii) enter into such additional agreements,
                consents, certificates, amendments, and instruments as may be necessary to
                obtain approval for the transactions contemplated thereby, (iv) if the
                Officers deem it necessary or appropriate, seek approval from the
                Bankruptcy Court for authority under the Bankruptcy Code and any other
                relevant or applicable federal, state, local or non-U.S. law to sell such assets
                in a Non-GOB Sale, (v) organize and manage a sales process for such
                assets, which may take the form of an auction or any other process which
                may include the identification of a stalking horse bidder, and (vi) enter into
                such additional agreement, consents, certificates, amendments, and
                instruments as may be necessary to obtain approval for and effect the
                transactions contemplated thereby; and it is further

                General Resolutions

                       RESOLVED, that the Board, on behalf of the Company, as
                manager of each of the other Debtors, authorizes and directs the execution
                by the Company of the Written Consent of the Manager of Ornatus URG
                Real Estate, LLC and the Written Consent of the Manager of Ornatus URG
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                Gift Cards, LLC, substantially in the forms attached hereto as Exhibit A
                (the “Company Consents”), and that the Officers be, and each of them,
                acting alone or in any combination, hereby is, authorized, directed and
                empowered in the name of the Company to execute and deliver to the
                Company the Company Consents and take any actions or execute and
                delivery any documents in furtherance of the Company Consents or matters
                approved therein; and it is further

                        RESOLVED, that all actions heretofore taken, and all agreements,
                instruments, reports and documents executed, delivered or filed through the
                date hereof, by any manager or Officer of the Company in, for and on
                behalf of the Company, in connection with the matters described in or
                contemplated by the foregoing resolutions, are hereby approved, adopted,
                ratified and confirmed in all respects as the acts and deeds of the Company
                as of the date such action or actions were taken; and it is further

                       RESOLVED, that facsimile or photostatic copies of signatures to
                this consent shall be deemed to be originals and may be relied on to the
                same extent as the originals.



                                           * * * * *




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                 This Written Consent shall be filed in the Minute Book of the Company and shall become
         a part of the records of the Company.

         Date: August 16, 2019



                                                     MANAGERS:


                                                     /s/ Paul Halpern
                                                     Paul Halpern



                                                     /s/ Raymond C. French
                                                     Raymond C. French



                                                     /s/ Aaron Headley
                                                     Aaron Headley



                                                     /s/ Matthew R. Kahn
                                                     Matthew R. Kahn



                                                     Agreed and accepted:

                                                     ORNATUS URG HOLDINGS, LLC, its sole
                                                     member


                                                     By: /s/ Paul Halpern
                                                     Name: Paul Halpern
                                                     Its: Authorized Signatory




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                             [SIGNATURE PAGE TO CONSENT OF BOARD – AVENUE STORES, LLC]
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                                    EXHIBIT A



                               Company Consents




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                                                  WRITTEN CONSENT
                                                         OF THE
                                                    MANAGER OF
                                           ORNATUS URG HOLDINGS, LLC
                                           a Delaware limited liability company

                       THE UNDERSIGNED, being the manager (the “Manager”) of Ornatus URG
                Holdings, LLC, a Delaware limited liability company (the “Company”), hereby consents
                to and adopts the following resolutions pursuant to the Fifth Amended and Restated
                Limited Liability Company Agreement of the Company, dated April 26, 2017, as
                amended (the “LLC Agreement”), as of the date set forth below:

                              WHEREAS, the LLC Agreement provides that the Manager may
                       delegate authority to act on behalf of the Company with respect to specific
                       matters;

                              WHEREAS, in furtherance of the foregoing, the Manager, in the
                       exercise of its business judgment, delegated the Manager’s authority to
                       oversee certain potential restructuring matters relating to the Company to
                       Matthew R. Kahn (in such capacity, the “Restructuring Designee”);

                               WHEREAS, in its delegation of authority to the Restructuring
                       Designee, it was provided that, without the consent of the Manager, the
                       Restructuring Designee shall have no power to authorize, or authority to
                       commence or cause the Company (or any of its subsidiaries, as applicable)
                       to effect or commit to effect, the filing of a voluntary petition under chapter
                       11 of Title 11 of the United States Code (the “Bankruptcy Code”);

                               WHEREAS, the Company is the sole member of Ornatus URG
                       Real Estate, LLC, a Delaware limited liability company (“Real Estate”),
                       Avenue Stores, LLC, a Delaware limited liability company (“Avenue”),
                       and Ornatus URG Gift Cards, LLC, a Virginia limited liability company
                       (“Gift Cards” and together with the Company, Real Estate and Avenue,
                       collectively, the “Debtors”);

                              WHEREAS, the Manager has reviewed and considered the
                       financial and operational condition of the Debtors, and the Debtors’
                       business on the date hereof, including the historical performance of the
                       Debtors, the assets of the Debtors, the current and long-term liabilities of
                       the Debtors, the market for the Debtors’ assets, and credit market
                       conditions; and

                              WHEREAS, the Manager has received, reviewed and considered
                       the recommendations of the senior management of the Debtors and the
                       Debtors’ legal, financial and other advisors as to the relative risks and

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                benefits of pursuing a bankruptcy proceeding under the provisions of
                chapter 11 of the Bankruptcy Code.

                       NOW, THEREFORE, BE IT:

                Appointment of CRO

                      RESOLVED, that Robert J. Duffy of Berkeley Research Group,
                LLC (“BRG”) is hereby appointed as Chief Restructuring Officer of the
                Company; and it is further

                Commencement and Prosecution of Bankruptcy Case

                        RESOLVED, that, in the judgment of the Manager, it is desirable
                and in the best interests of the Company, its creditors, members and other
                interested parties, that a voluntary petition (the “Petition”) be filed with the
                United States Bankruptcy Court for the District of Delaware (the
                “Bankruptcy Court”) by the Company under the provisions of the
                Bankruptcy Code; and it is further

                        RESOLVED, that each officer of the Company (each, an “Officer”
                and collectively, the “Officers”) be, and each of them, acting alone or in
                any combination, hereby is, authorized, directed and empowered, on behalf
                of the Company, to execute, acknowledge, deliver, and verify the Petition
                and to cause the same to be filed with the Bankruptcy Court at such time as
                such Officer may determine; and it is further

                       RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered on
                behalf of the Company, to execute, acknowledge, deliver and verify and file
                any and all petitions, schedules, statements of affairs, lists and other papers
                and to take any and all related actions that such Officers may deem
                necessary or proper in connection with the commencement of such
                Bankruptcy Case; and it is further

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered from
                time to time in the name and on behalf of the Company, to perform the
                obligations of the Company under the Bankruptcy Code, with all such
                actions to be performed in such manner, and all such certificates,
                instruments, guaranties, notices and documents to be executed and
                delivered in such form, as the Officer performing or executing the same
                shall approve, and the performance or execution thereof by such Officer
                shall be conclusive evidence of the approval thereof by such Officer and by
                the Company; and it is further

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered from

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                time to time in the name and on behalf of the Company, to cause the
                Company to enter into, execute, deliver, certify, file, record and perform
                such agreements, instruments, motions, affidavits, applications for
                approvals or rulings of governmental or regulatory authorities, certificates
                or other documents, to pay all expenses, including filing fees, and to take
                such other actions, as in the judgment of such Officers, shall be necessary,
                proper and desirable to prosecute to a successful completion the
                Bankruptcy Case and to effectuate the restructuring or liquidation of the
                Company’s debt, other obligations, organizational form and structure and
                ownership of the Company, all consistent with the foregoing resolutions
                and to carry out and put into effect the purposes of these resolutions, and
                the transactions contemplated by these resolutions, their authority thereunto
                to be evidenced by the taking of such actions; and it is further

                Retention of Professionals

                        RESOLVED, that the law firm of Young Conaway Stargatt &
                Taylor, LLP (“Young Conaway”) be, and hereby is, authorized, directed
                and empowered to represent the Company as bankruptcy counsel to
                represent and assist the Company in carrying out its duties under the
                Bankruptcy Code, and to take any and all actions to advance the
                Company’s rights, including the preparation of pleadings and filings in its
                Bankruptcy Case; and in connection therewith, the Officers be, and each of
                them, acting alone or in any combination, hereby is, authorized, directed
                and empowered, on behalf of and in the name of the Company to execute
                appropriate retention agreements, pay appropriate retainers prior to and
                immediately upon the filing of the Bankruptcy Case, and to cause to be
                filed an appropriate application for authority to retain the services of Young
                Conaway; and it is further

                        RESOLVED, that BRG be, and hereby is, authorized, directed and
                empowered to serve as a financial advisor to represent and assist the
                Company in carrying out its duties under the Bankruptcy Code and to take
                any and all actions to advance the Company’s rights and obligations in
                connection with the Bankruptcy Case; and in connection therewith, the
                Officers be, and each of them, acting alone or in any combination, hereby
                is, authorized, directed, and empowered, on behalf of and in the name of the
                Company, to execute appropriate retention agreements, pay appropriate
                retainers, if required, prior to and immediately upon the filing of the
                Bankruptcy Case, and to cause to be filed an appropriate motion or
                application for authority to retain the services of BRG; and it is further

                       RESOLVED, that Configure Partners, LLC (“Configure”) be, and
                hereby is, authorized, directed and empowered to serve as investment
                banker to represent and assist the Company in connection with the sale of
                the Company’s “E-Commerce Business” and in carrying out its duties
                under the Bankruptcy Code and to take any and all actions to advance the
                Company’s rights and obligations in connection with the Bankruptcy Case;
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                and in connection therewith, the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed, and empowered, on
                behalf of and in the name of the Company, to execute appropriate retention
                agreements, pay appropriate retainers, if required, prior to and immediately
                upon the filing of the Bankruptcy Case, and to cause to be filed an
                appropriate application for authority to retain the services of Configure; and
                it is further

                        RESOLVED, that Prime Clerk LLC (“Prime Clerk”) be, and
                hereby is, authorized, directed and empowered to serve as the notice,
                claims, solicitation and balloting agent in connection with the Bankruptcy
                Case; and in connection therewith, the Officers be, and each of them, acting
                alone or in any combination, hereby is, authorized, directed and
                empowered, on behalf of and in the name of the Company to execute
                appropriate retention agreements, pay appropriate retainers, if required,
                prior to and immediately upon the filing of the Bankruptcy Case, and to
                cause to be filed an appropriate application for authority to retain the
                services of Prime Clerk; and it is further

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company to employ any other individual
                and/or firm as professionals, consultants, financial advisors, or investment
                bankers to the Company as are deemed necessary to represent and assist the
                Company in carrying out its duties under the Bankruptcy Code, and in
                connection therewith, the Officers be, and each of them, acting alone or in
                any combination, hereby is, authorized, directed and empowered, on behalf
                of and in the name of the Company to execute appropriate retention
                agreements, pay appropriate retainers prior to and immediately upon the
                filing of the Bankruptcy Case, and to cause to be filed an appropriate
                application for authority to retain the services of such firms; and it is further

                Postpetition Financing

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company to obtain post-petition financing
                according to terms negotiated, or to be negotiated, by the management of
                the Company, including under debtor-in-possession credit facilities or
                relating to the use of cash collateral, if any; and to enter into any guarantees
                and to pledge and grant liens on its assets as may be contemplated by or
                required under the terms of such post-petition financing or cash collateral
                agreements; and in connection therewith, the Officers be, and each of them,
                acting alone or in any combination, hereby is authorized and directed to
                execute appropriate loan agreements, cash collateral agreements and related
                ancillary documents; and it is further



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                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company, to secure the payment and
                performance of any post-petition financing by (i) (a) pledging or granting
                liens or mortgages on, or security interests in, all or any portion of the
                Company’s assets, including all or any portion of the issued and
                outstanding membership interests of any subsidiaries of the Company,
                whether now owned or hereafter acquired, and (b) causing any subsidiary
                of the Company, if any, to pledge or grant liens or mortgages on, or security
                interests in, all or any portion of such subsidiary’s assets, whether now
                owned or hereafter acquired, and (ii) entering into or causing to be entered
                into, including, without limitation, causing any subsidiaries of the Company
                to enter into, such credit agreements, guarantees, other debt instruments,
                security agreements, pledge agreements, control agreements, inter-creditor
                agreements, mortgages, deeds of trust, and other agreements as are
                necessary, appropriate or desirable to effectuate the intent of, or matters
                reasonably contemplated or implied by, this resolution in such form,
                covering such collateral and having such other terms and conditions as are
                approved or deemed necessary, appropriate, or desirable by the Officer
                executing the same, the execution thereof by such Officer to be conclusive
                evidence of such approval or determination; and it is further

                Sale

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company, to retain Hilco Merchant
                Resources, LLC and Gordon Brothers Retail Partners, LLC (collectively,
                the “Consultant”) to conduct “going out of business sales” solely at the
                Company’s retail stores (the “GOB Sale”), if any, in connection with the
                commencement of the Bankruptcy Case and to provide consulting services
                relating thereto; and, in connection therewith, that the Officers be, and each
                of them, acting alone or in any combination, hereby is, authorized, directed
                and empowered, on behalf of and in the name of the Company, to execute a
                consulting agreement with the Consultant and related ancillary documents
                to effectuate the aforementioned sale; and it is further

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company, to (i) enter into negotiation with
                any interested parties regarding a purchase of any or all of the assets of the
                Company not subject to the GOB Sale (of any kind) (a “Non-GOB Sale”),
                (ii) execute and deliver an agreement providing for such Non-GOB Sale
                (the “Sale Agreement”), (iii) enter into such additional agreements,
                consents, certificates, amendments, and instruments as may be necessary to
                obtain approval for the transactions contemplated thereby, (iv) if the
                Officers deem it necessary or appropriate, seek approval from the
                Bankruptcy Court for authority under the Bankruptcy Code and any other
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                relevant or applicable federal, state, local or non-U.S. law to sell such assets
                in a Non-GOB Sale, (v) organize and manage a sales process for such
                assets, which may take the form of an auction or any other process which
                may include the identification of a stalking horse bidder, and (vi) enter into
                such additional agreement, consents, certificates, amendments, and
                instruments as may be necessary to obtain approval for and effect the
                transactions contemplated thereby; and it is further

                General Resolutions

                         RESOLVED, that the Manager, on behalf of the Company, as sole
                member of each of the other Debtors, authorizes each such other Debtor to
                commence cases under chapter 11 of the Bankruptcy, and that the Officers
                be, and each of them acting alone or in any combination is, hereby
                authorized, directed and empowered in the name of the Company, as sole
                member of each of the other Debtors, to execute and deliver such consents
                and take any actions or execute and delivery any documents in furtherance
                of this resolution; and it is further

                       RESOLVED, that all actions heretofore taken, and all agreements,
                instruments, reports and documents executed, delivered or filed through the
                date hereof, by the Manager, the Restructuring Designee, or any Officer in,
                for and on behalf of the Company, in connection with the matters described
                in or contemplated by the foregoing resolutions, are hereby approved,
                adopted, ratified and confirmed in all respects as the acts and deeds of the
                Company as of the date such action or actions were taken; and it is further

                       RESOLVED, that facsimile or photostatic copies of signatures to
                this consent shall be deemed to be originals and may be relied on to the
                same extent as the originals.



                                             * * * * *




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                 This Written Consent shall be filed in the Minute Book of the Company and shall become
         a part of the records of the Company.

         Date: August ____, 2019



                                                      MANAGER:


                                                      ORNATUS URG MANAGEMENT, LLC


                                                      By: _____________________________
                                                      Name:
                                                      Its:




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                         [SIGNATURE PAGE TO CONSENT OF MANAGER – ORNATUS URG HOLDINGS, LLC]
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                                                 WRITTEN CONSENT
                                                        OF THE
                                                   MANAGER OF
                                         ORNATUS URG REAL ESTATE, LLC
                                          a Delaware limited liability company

                       THE UNDERSIGNED, being the sole manager (the “Manager”) of Ornatus URG
                Real Estate, LLC, a Delaware limited liability company (the “Company”), hereby
                consents to and adopts the following resolutions pursuant to the Amended and Restated
                Limited Liability Company Agreement of the Company, dated September 19, 2014, as
                amended (the “LLC Agreement”), as of the date set forth below:

                              WHEREAS, the Manager has reviewed and considered the
                       financial and operational condition of the Company, and the Company’s
                       business on the date hereof, including the historical performance of the
                       Company, the assets of the Company, the current and long-term liabilities
                       of the Company, the market for the Company’s assets, and credit market
                       conditions; and

                               WHEREAS, the Manager has received, reviewed and considered
                       the recommendations of the senior management of the Company and the
                       Company’s legal, financial and other advisors as to the relative risks and
                       benefits of pursuing a bankruptcy proceeding under the provisions of
                       chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”).

                              NOW, THEREFORE, BE IT:

                       Appointment of CRO

                             RESOLVED, that Robert J. Duffy of Berkeley Research Group,
                       LLC (“BRG”) is hereby appointed as Chief Restructuring Officer of the
                       Company; and it is further

                       Commencement and Prosecution of Bankruptcy Case

                               RESOLVED, that, in the judgment of the Manager, it is desirable
                       and in the best interests of the Company, its creditors, member and other
                       interested parties, that a voluntary petition (the “Petition”) be filed with the
                       United States Bankruptcy Court for the District of Delaware (the
                       “Bankruptcy Court”) by the Company commencing a case (the
                       “Bankruptcy Case”) under the provisions of the Bankruptcy Code; and it is
                       further

                              RESOLVED, that each officer of the Company (each, an “Officer”
                       and collectively, the “Officers”) be, and each of them, acting alone or in
                       any combination, hereby is, authorized, directed and empowered, on behalf
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                of the Company, to execute, acknowledge, deliver, and verify the Petition
                and to cause the same to be filed with the Bankruptcy Court at such time as
                such Officer may determine; and it is further

                       RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered on
                behalf of the Company, to execute, acknowledge, deliver and verify and file
                any and all petitions, schedules, statements of affairs, lists and other papers
                and to take any and all related actions that such Officers may deem
                necessary or proper in connection with the filing of the Petition and
                commencement of the Bankruptcy Case; and it is further

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered from
                time to time in the name and on behalf of the Company, to perform the
                obligations of the Company under the Bankruptcy Code, with all such
                actions to be performed in such manner, and all such certificates,
                instruments, guaranties, notices and documents to be executed and
                delivered in such form, as the Officer performing or executing the same
                shall approve, and the performance or execution thereof by such Officer
                shall be conclusive evidence of the approval thereof by such Officer and by
                the Company; and it is further

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered from
                time to time in the name and on behalf of the Company, to cause the
                Company to enter into, execute, deliver, certify, file, record and perform
                such agreements, instruments, motions, affidavits, applications for
                approvals or rulings of governmental or regulatory authorities, certificates
                or other documents, to pay all expenses, including filing fees, and to take
                such other actions, as in the judgment of such Officers, shall be necessary,
                proper and desirable to prosecute to a successful completion the
                Bankruptcy Case and to effectuate the restructuring or liquidation of the
                Company’s debt, other obligations, organizational form and structure and
                ownership of the Company, all consistent with the foregoing resolutions
                and to carry out and put into effect the purposes of these resolutions, and
                the transactions contemplated by these resolutions, their authority thereunto
                to be evidenced by the taking of such actions; and it is further

                Retention of Professionals

                       RESOLVED, that the law firm of Young Conaway Stargatt &
                Taylor, LLP (“Young Conaway”) be, and hereby is, authorized, directed
                and empowered to represent the Company as bankruptcy counsel to
                represent and assist the Company in carrying out its duties under the
                Bankruptcy Code, and to take any and all actions to advance the
                Company’s rights, including the preparation of pleadings and filings in its
                Bankruptcy Case; and in connection therewith, the Officers be, and each of
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                them, acting alone or in any combination, hereby is, authorized, directed
                and empowered, on behalf of and in the name of the Company to execute
                appropriate retention agreements, pay appropriate retainers prior to and
                immediately upon the filing of the Bankruptcy Case, and to cause to be
                filed an appropriate application for authority to retain the services of Young
                Conaway; and it is further

                        RESOLVED, that BRG be, and hereby is, authorized, directed and
                empowered to serve as a financial advisor to represent and assist the
                Company in carrying out its duties under the Bankruptcy Code and to take
                any and all actions to advance the Company’s rights and obligations in
                connection with the Bankruptcy Case; and in connection therewith, the
                Officers be, and each of them, acting alone or in any combination, hereby
                is, authorized, directed, and empowered, on behalf of and in the name of the
                Company, to execute appropriate retention agreements, pay appropriate
                retainers, if required, prior to and immediately upon the filing of the
                Bankruptcy Case, and to cause to be filed an appropriate motion or
                application for authority to retain the services of BRG; and it is further

                         RESOLVED, that Configure Partners, LLC (“Configure”) be, and
                hereby is, authorized, directed and empowered to serve as investment
                banker to represent and assist the Company in connection with the sale of
                the Company’s “E-Commerce Business” and in carrying out its duties
                under the Bankruptcy Code and to take any and all actions to advance the
                Company’s rights and obligations in connection with the Bankruptcy Case;
                and in connection therewith, the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed, and empowered, on
                behalf of and in the name of the Company, to execute appropriate retention
                agreements, pay appropriate retainers, if required, prior to and immediately
                upon the filing of the Bankruptcy Case, and to cause to be filed an
                appropriate application for authority to retain the services of Configure; and
                it is further

                        RESOLVED, that Prime Clerk LLC (“Prime Clerk”) be, and
                hereby is, authorized, directed and empowered to serve as the notice,
                claims, solicitation and balloting agent in connection with the Bankruptcy
                Case; and in connection therewith, the Officers be, and each of them, acting
                alone or in any combination, hereby is, authorized, directed and
                empowered, on behalf of and in the name of the Company to execute
                appropriate retention agreements, pay appropriate retainers, if required,
                prior to and immediately upon the filing of the Bankruptcy Case, and to
                cause to be filed an appropriate application for authority to retain the
                services of Prime Clerk; and it is further

                       RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company to employ any other individual
                and/or firm as professionals, consultants, financial advisors, or investment
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                bankers to the Company as are deemed necessary to represent and assist the
                Company in carrying out its duties under the Bankruptcy Code, and in
                connection therewith, the Officers be, and each of them, acting alone or in
                any combination, hereby is, authorized, directed and empowered, on behalf
                of and in the name of the Company to execute appropriate retention
                agreements, pay appropriate retainers prior to and immediately upon the
                filing of the Bankruptcy Case, and to cause to be filed an appropriate
                application for authority to retain the services of such firms; and it is further

                Postpetition Financing

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company to obtain post-petition financing
                according to terms negotiated, or to be negotiated, by the management of
                the Company, including under debtor-in-possession credit facilities or
                relating to the use of cash collateral, if any; and to enter into any guarantees
                and to pledge and grant liens on its assets as may be contemplated by or
                required under the terms of such post-petition financing or cash collateral
                agreements; and in connection therewith, the Officers be, and each of them,
                acting alone or in any combination, hereby is authorized and directed to
                execute appropriate loan agreements, cash collateral agreements and related
                ancillary documents; and it is further

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company, to secure the payment and
                performance of any post-petition financing by (i) (a) pledging or granting
                liens or mortgages on, or security interests in, all or any portion of the
                Company’s assets, including all or any portion of the issued and
                outstanding membership interests of any subsidiaries of the Company,
                whether now owned or hereafter acquired, and (b) causing any subsidiary
                of the Company, if any, to pledge or grant liens or mortgages on, or security
                interests in, all or any portion of such subsidiary’s assets, whether now
                owned or hereafter acquired, and (ii) entering into or causing to be entered
                into, including, without limitation, causing any subsidiaries of the Company
                to enter into, such credit agreements, guarantees, other debt instruments,
                security agreements, pledge agreements, control agreements, inter-creditor
                agreements, mortgages, deeds of trust, and other agreements as are
                necessary, appropriate or desirable to effectuate the intent of, or matters
                reasonably contemplated or implied by, this resolution in such form,
                covering such collateral and having such other terms and conditions as are
                approved or deemed necessary, appropriate, or desirable by the Officer
                executing the same, the execution thereof by such Officer to be conclusive
                evidence of such approval or determination; and it is further




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                Sale

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company, to retain Hilco Merchant
                Resources, LLC and Gordon Brothers Retail Partners, LLC (collectively,
                the “Consultant”) to conduct “going out of business sales” solely at the
                Company’s retail stores (the “GOB Sale”), if any, in connection with the
                commencement of the Bankruptcy Case and to provide consulting services
                relating thereto; and, in connection therewith, that the Officers be, and each
                of them, acting alone or in any combination, hereby is, authorized, directed
                and empowered, on behalf of and in the name of the Company, to execute a
                consulting agreement with the Consultant and related ancillary documents
                to effectuate the aforementioned sale; and it is further

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company, to (i) enter into negotiation with
                any interested parties regarding a purchase of any or all of the assets of the
                Company not subject to the GOB Sale (of any kind) (a “Non-GOB Sale”),
                (ii) execute and deliver an agreement providing for such Non-GOB Sale
                (the “Sale Agreement”), (iii) enter into such additional agreements,
                consents, certificates, amendments, and instruments as may be necessary to
                obtain approval for the transactions contemplated thereby, (iv) if the
                Officers deem it necessary or appropriate, seek approval from the
                Bankruptcy Court for authority under the Bankruptcy Code and any other
                relevant or applicable federal, state, local or non-U.S. law to sell such assets
                in a Non-GOB Sale, (v) organize and manage a sales process for such
                assets, which may take the form of an auction or any other process which
                may include the identification of a stalking horse bidder, and (vi) enter into
                such additional agreement, consents, certificates, amendments, and
                instruments as may be necessary to obtain approval for and effect the
                transactions contemplated thereby; and it is further

                General Resolutions

                       RESOLVED, that all actions heretofore taken, and all agreements,
                instruments, reports and documents executed, delivered or filed through the
                date hereof, by any Officer of the Company in, for and on behalf of the
                Company, in connection with the matters described in or contemplated by
                the foregoing resolutions, are hereby approved, adopted, ratified and
                confirmed in all respects as the acts and deeds of the Company as of the
                date such action or actions were taken; and it is further

                       RESOLVED, that facsimile or photostatic copies of signatures to
                this consent shall be deemed to be originals and may be relied on to the
                same extent as the originals.


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                                    * * * * *




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                 This Written Consent shall be filed in the Minute Book of the Company and shall become
         a part of the records of the Company.

         Date: August ____, 2019



                                                      MANAGER:



                                                      AVENUE STORES, LLC


                                                      By: _____________________________
                                                      Name:
                                                      Its:




                                                      Agreed and accepted:

                                                      ORNATUS URG HOLDINGS, LLC, its sole
                                                      member


                                                      By: _____________________________
                                                      Name:
                                                      Its:




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                        [SIGNATURE PAGE TO CONSENT OF MANAGER – ORNATUS URG REAL ESTATE, LLC]
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                                                  WRITTEN CONSENT
                                                         OF THE
                                                     MANAGER OF
                                          ORNATUS URG GIFT CARDS, LLC
                                           a Virginia limited liability company

                       THE UNDERSIGNED, being the sole manager (the “Manager”) of Ornatus URG
                Gift Cards, LLC, a Virginia limited liability company (the “Company”), hereby consents
                to and adopts the following resolutions pursuant to the Amended and Restated Limited
                Liability Company Agreement of the Company, dated September 19, 2014, as amended
                (the “LLC Agreement”), as of the date set forth below:

                              WHEREAS, the Manager has reviewed and considered the
                       financial and operational condition of the Company, and the Company’s
                       business on the date hereof, including the historical performance of the
                       Company, the assets of the Company, the current and long-term liabilities
                       of the Company, the market for the Company’s assets, and credit market
                       conditions; and

                               WHEREAS, the Manager has received, reviewed and considered
                       the recommendations of the senior management of the Company and the
                       Company’s legal, financial and other advisors as to the relative risks and
                       benefits of pursuing a bankruptcy proceeding under the provisions of
                       chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”).

                              NOW, THEREFORE, BE IT:

                       Appointment of CRO

                             RESOLVED, that Robert J. Duffy of Berkeley Research Group,
                       LLC (“BRG”) is hereby appointed as Chief Restructuring Officer of the
                       Company; and it is further

                       Commencement and Prosecution of Bankruptcy Case

                               RESOLVED, that, in the judgment of the Manager, it is desirable
                       and in the best interests of the Company, its creditors, member and other
                       interested parties, that a voluntary petition (the “Petition”) be filed with the
                       United States Bankruptcy Court for the District of Delaware (the
                       “Bankruptcy Court”) by the Company commencing a case (the
                       “Bankruptcy Case”) under the provisions of the Bankruptcy Code; and it is
                       further

                              RESOLVED, that each officer of the Company (each, an “Officer”
                       and collectively, the “Officers”) be, and each of them, acting alone or in
                       any combination, hereby is, authorized, directed and empowered, on behalf
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                of the Company, to execute, acknowledge, deliver, and verify the Petition
                and to cause the same to be filed with the Bankruptcy Court at such time as
                such Officer may determine; and it is further

                       RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered on
                behalf of the Company, to execute, acknowledge, deliver and verify and file
                any and all petitions, schedules, statements of affairs, lists and other papers
                and to take any and all related actions that such Officers may deem
                necessary or proper in connection with the filing of the Petition and
                commencement of the Bankruptcy Case; and it is further

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered from
                time to time in the name and on behalf of the Company, to perform the
                obligations of the Company under the Bankruptcy Code, with all such
                actions to be performed in such manner, and all such certificates,
                instruments, guaranties, notices and documents to be executed and
                delivered in such form, as the Officer performing or executing the same
                shall approve, and the performance or execution thereof by such Officer
                shall be conclusive evidence of the approval thereof by such Officer and by
                the Company; and it is further

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered from
                time to time in the name and on behalf of the Company, to cause the
                Company to enter into, execute, deliver, certify, file, record and perform
                such agreements, instruments, motions, affidavits, applications for
                approvals or rulings of governmental or regulatory authorities, certificates
                or other documents, to pay all expenses, including filing fees, and to take
                such other actions, as in the judgment of such Officers, shall be necessary,
                proper and desirable to prosecute to a successful completion the
                Bankruptcy Case and to effectuate the restructuring or liquidation of the
                Company’s debt, other obligations, organizational form and structure and
                ownership of the Company, all consistent with the foregoing resolutions
                and to carry out and put into effect the purposes of these resolutions, and
                the transactions contemplated by these resolutions, their authority thereunto
                to be evidenced by the taking of such actions; and it is further

                Retention of Professionals

                       RESOLVED, that the law firm of Young Conaway Stargatt &
                Taylor, LLP (“Young Conaway”) be, and hereby is, authorized, directed
                and empowered to represent the Company as bankruptcy counsel to
                represent and assist the Company in carrying out its duties under the
                Bankruptcy Code, and to take any and all actions to advance the
                Company’s rights, including the preparation of pleadings and filings in its
                Bankruptcy Case; and in connection therewith, the Officers be, and each of
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                them, acting alone or in any combination, hereby is, authorized, directed
                and empowered, on behalf of and in the name of the Company to execute
                appropriate retention agreements, pay appropriate retainers prior to and
                immediately upon the filing of the Bankruptcy Case, and to cause to be
                filed an appropriate application for authority to retain the services of Young
                Conaway; and it is further

                        RESOLVED, that BRG be, and hereby is, authorized, directed and
                empowered to serve as a financial advisor to represent and assist the
                Company in carrying out its duties under the Bankruptcy Code and to take
                any and all actions to advance the Company’s rights and obligations in
                connection with the Bankruptcy Case; and in connection therewith, the
                Officers be, and each of them, acting alone or in any combination, hereby
                is, authorized, directed, and empowered, on behalf of and in the name of the
                Company, to execute appropriate retention agreements, pay appropriate
                retainers, if required, prior to and immediately upon the filing of the
                Bankruptcy Case, and to cause to be filed an appropriate motion or
                application for authority to retain the services of BRG; and it is further

                         RESOLVED, that Configure Partners, LLC (“Configure”) be, and
                hereby is, authorized, directed and empowered to serve as investment
                banker to represent and assist the Company in connection with the sale of
                the Company’s “E-Commerce Business” and in carrying out its duties
                under the Bankruptcy Code and to take any and all actions to advance the
                Company’s rights and obligations in connection with the Bankruptcy Case;
                and in connection therewith, the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed, and empowered, on
                behalf of and in the name of the Company, to execute appropriate retention
                agreements, pay appropriate retainers, if required, prior to and immediately
                upon the filing of the Bankruptcy Case, and to cause to be filed an
                appropriate application for authority to retain the services of Configure; and
                it is further

                        RESOLVED, that Prime Clerk LLC (“Prime Clerk”) be, and
                hereby is, authorized, directed and empowered to serve as the notice,
                claims, solicitation and balloting agent in connection with the Bankruptcy
                Case; and in connection therewith, the Officers be, and each of them, acting
                alone or in any combination, hereby is, authorized, directed and
                empowered, on behalf of and in the name of the Company to execute
                appropriate retention agreements, pay appropriate retainers, if required,
                prior to and immediately upon the filing of the Bankruptcy Case, and to
                cause to be filed an appropriate application for authority to retain the
                services of Prime Clerk; and it is further

                       RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company to employ any other individual
                and/or firm as professionals, consultants, financial advisors, or investment
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                bankers to the Company as are deemed necessary to represent and assist the
                Company in carrying out its duties under the Bankruptcy Code, and in
                connection therewith, the Officers be, and each of them, acting alone or in
                any combination, hereby is, authorized, directed and empowered, on behalf
                of and in the name of the Company to execute appropriate retention
                agreements, pay appropriate retainers prior to and immediately upon the
                filing of the Bankruptcy Case, and to cause to be filed an appropriate
                application for authority to retain the services of such firms; and it is further

                Postpetition Financing

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company to obtain post-petition financing
                according to terms negotiated, or to be negotiated, by the management of
                the Company, including under debtor-in-possession credit facilities or
                relating to the use of cash collateral, if any; and to enter into any guarantees
                and to pledge and grant liens on its assets as may be contemplated by or
                required under the terms of such post-petition financing or cash collateral
                agreements; and in connection therewith, the Officers be, and each of them,
                acting alone or in any combination, hereby is authorized and directed to
                execute appropriate loan agreements, cash collateral agreements and related
                ancillary documents; and it is further

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company, to secure the payment and
                performance of any post-petition financing by (i) (a) pledging or granting
                liens or mortgages on, or security interests in, all or any portion of the
                Company’s assets, including all or any portion of the issued and
                outstanding membership interests of any subsidiaries of the Company,
                whether now owned or hereafter acquired, and (b) causing any subsidiary
                of the Company, if any, to pledge or grant liens or mortgages on, or security
                interests in, all or any portion of such subsidiary’s assets, whether now
                owned or hereafter acquired, and (ii) entering into or causing to be entered
                into, including, without limitation, causing any subsidiaries of the Company
                to enter into, such credit agreements, guarantees, other debt instruments,
                security agreements, pledge agreements, control agreements, inter-creditor
                agreements, mortgages, deeds of trust, and other agreements as are
                necessary, appropriate or desirable to effectuate the intent of, or matters
                reasonably contemplated or implied by, this resolution in such form,
                covering such collateral and having such other terms and conditions as are
                approved or deemed necessary, appropriate, or desirable by the Officer
                executing the same, the execution thereof by such Officer to be conclusive
                evidence of such approval or determination; and it is further




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                Sale

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company, to retain Hilco Merchant
                Resources, LLC and Gordon Brothers Retail Partners, LLC (collectively,
                the “Consultant”) to conduct “going out of business sales” solely at the
                Company’s retail stores (the “GOB Sale”), if any, in connection with the
                commencement of the Bankruptcy Case and to provide consulting services
                relating thereto; and, in connection therewith, that the Officers be, and each
                of them, acting alone or in any combination, hereby is, authorized, directed
                and empowered, on behalf of and in the name of the Company, to execute a
                consulting agreement with the Consultant and related ancillary documents
                to effectuate the aforementioned sale; and it is further

                        RESOLVED, that the Officers be, and each of them, acting alone
                or in any combination, hereby is, authorized, directed and empowered, on
                behalf of and in the name of the Company, to (i) enter into negotiation with
                any interested parties regarding a purchase of any or all of the assets of the
                Company not subject to the GOB Sale (of any kind) (a “Non-GOB Sale”),
                (ii) execute and deliver an agreement providing for such Non-GOB Sale
                (the “Sale Agreement”), (iii) enter into such additional agreements,
                consents, certificates, amendments, and instruments as may be necessary to
                obtain approval for the transactions contemplated thereby, (iv) if the
                Officers deem it necessary or appropriate, seek approval from the
                Bankruptcy Court for authority under the Bankruptcy Code and any other
                relevant or applicable federal, state, local or non-U.S. law to sell such assets
                in a Non-GOB Sale, (v) organize and manage a sales process for such
                assets, which may take the form of an auction or any other process which
                may include the identification of a stalking horse bidder, and (vi) enter into
                such additional agreement, consents, certificates, amendments, and
                instruments as may be necessary to obtain approval for and effect the
                transactions contemplated thereby; and it is further

                General Resolutions

                       RESOLVED, that all actions heretofore taken, and all agreements,
                instruments, reports and documents executed, delivered or filed through the
                date hereof, by any Officer of the Company in, for and on behalf of the
                Company, in connection with the matters described in or contemplated by
                the foregoing resolutions, are hereby approved, adopted, ratified and
                confirmed in all respects as the acts and deeds of the Company as of the
                date such action or actions were taken; and it is further

                       RESOLVED, that facsimile or photostatic copies of signatures to
                this consent shall be deemed to be originals and may be relied on to the
                same extent as the originals.


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                 This Written Consent shall be filed in the Minute Book of the Company and shall become
         a part of the records of the Company.

         Date: August ____, 2019



                                                      MANAGER:



                                                      AVENUE STORES, LLC


                                                      By: _____________________________
                                                      Name:
                                                      Its:




                                                      Agreed and accepted:

                                                      ORNATUS URG HOLDINGS, LLC, its sole
                                                      member


                                                      By: _____________________________
                                                      Name:
                                                      Its:




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                        [SIGNATURE PAGE TO CONSENT OF MANAGER – ORNATUS URG GIFT CARDS, LLC]
